                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                 DOCKET NO. 3:10cr260-MOC

UNITED STATES OF AMERICA,                         )
                                                  )
               v.                                 )          ORDER OF FORFEITURE
                                                  )
ANTHONY C. CARROTHERS (3)                         )



       THIS MATTER is before the Court on the Government’s Motion for Money Judgment.

Despite the passage of more than 10 days, defendant has not filed a written response.



       THIS COURT FINDS AS FOLLOWS:

       1.      The Third Superseding Bill of Indictment (“Indictment”; Doc. 135) in this case

charged Defendant with, amongst other violations, conspiracy in violation of 18 U.S.C. § 371 and

a bank fraud scheme in violation of 18 U.S.C. § 1344. The Indictment also provided notice that

property was subject to forfeiture pursuant to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c).

       2.      Following trial, a jury found Defendant guilty of Counts One and Four.             In

addition, information in the record, including but not limited to Trial Exhibit 10c, establishes that

the gross proceeds of Counts One and Four were $225,000, the conspirators obtained $62,000 from

those gross proceeds, and Defendant personally obtained $32,000 of the $62,000.

       IT IS THEREFORE ORDERED that, for purposes of Fed. R. Crim. P. 32.2 and 18 U.S.C.

982(a)(2)(A), and based on the Indictment, verdict of guilt, trial testimony and exhibits, Motion

for Money Judgment, and record, the Government has established the amount of the money

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judgment and this Order shall constitute a money judgment for the following property:

       A forfeiture money judgment in the amount of $62,000, such amount constituting the
       proceeds of the conspiracy and bank fraud offenses of which Defendant was found
       guilty.




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